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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
___________________________________________________

JOHN DOE #1, JOHN DOE #2, JOHN DOE #3,
JOHN DOE #4, JOHN DOE #5, JOHN DOE #6,
JOHN DOE #7, JOHN DOE #8, and JOHN DOE #9,

                                      Plaintiffs,

                      v.                                           5:18-CV-496
                                                                   (FJS/DEP)
SYRACUSE UNIVERSITY; KENT SYVERUD,
individually and as Chancellor of Syracuse University;
ROBERT HRADSKY, individually and as Syracuse
University Dean of Students and Associate Vice
President of the Student Experience; and TERESA
ABI-NADER DAHLBERG,

                              Defendants.
___________________________________________________

APPEARANCES                                         OF COUNSEL

SMITH, SOVIK, KENDRICK                              KAREN G. FELTER, ESQ.
& SUGNET, P.C.                                      KEVIN E. HULSLANDER, ESQ.
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Attorneys for Defendants

SCULLIN, Senior Judge

                                                ORDER

       The Court advised the parties at oral argument on September 5, 2018, that it would issue a

briefing schedule regarding Plaintiffs' motion to voluntarily dismiss this action pursuant to Rule

41(a)(2) of the Federal Rules of Civil Procedure and Defendants' motion to strike Plaintiffs' Third

Amended Complaint. Once the motions are fully briefed, the Court will decide whether oral argument

is necessary or whether it will decide the motions based on the parties' submissions. Accordingly, the

Court hereby

       ORDERS that, if Defendants want to supplement their opposition to Plaintiffs' Rule 41(a)(2)

motion, they must file and serve any such supplemental response on or before September 25, 2018;

and the Court further

       ORDERS that Plaintiffs shall file their reply in further support of their Rule 41(a)(2) motion on

or before October 9, 2018; and the Court further

       ORDERS that Defendants shall file their motion to strike Plaintiffs' Third Amended Complaint

on or before September 25, 2018; and the Court further

       ORDERS that Plaintiffs shall file their opposition to Defendants' motion to strike their Third

Amended Complaint on or before October 9, 2018; and the Court further




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       ORDERS that Defendants shall file their reply in further support of their motion to strike

Plaintiffs' Third Amended Complaint on or before October 16, 2018.


IT IS SO ORDERED.


Dated: September 6, 2018
       Syracuse, New York




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